Case 2:11-cv-03428-PSG-PLA Document 250 Filed 12/21/17 Page 1 of 4 Page ID #:4917



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   12                              UNITED STATES DISTRICT COURT
   13                            CENTRAL DISTRICT OF CALIFORNIA
   14
   15    KEMAH HENDERSON,                  Case No. 11-CV-03428 PSG (PLAx)
         TAQUONNA LAMPKINS,
   16    CAROLYN SALAZAR and
         TAMANA DALTON, individually and JOINT STIPULATION TO BRIEFLY
   17    on behalf of all others similarly CONTINUE TRIAL DATES
         situated,
   18
                                Plaintiffs,
   19
                          vs.
   20
         JPMORGAN CHASE BANK; and
   21    DOES 1 through 50, inclusive,
         Defendants.
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                      STIPULATION AND [PROPOSED] ORDER TO BRIEFLY CONTINUE TRIAL DATES
                                                                     Case No. 11-CV-03428 PSG (PLAx)
        DB2/ 32465402.1
Case 2:11-cv-03428-PSG-PLA Document 250 Filed 12/21/17 Page 2 of 4 Page ID #:4918



    1             IT IS HEREBY STIPULATED AND AGREED by and between Plaintiffs
    2    KEMAH HENDERSON, TAQUONNA LAMPKINS, CAROLYN SALAZAR, and
    3    TAMANA DALTON (“Plaintiffs”) and Defendant JPMORGAN CHASE BANK,
    4    N.A. (“Defendant”) (collectively, the “Parties”), by and through their respective
    5    counsel of record, as follows:
    6             WHEREAS, on November 21, 2017, the Court issued an Order setting trial
    7    in this case for February 27, 2018 (9:00 a.m.), and the Final Pretrial Conference
    8    for February 12, 2018 (2:30 p.m.);
    9             WHEREAS, the Parties intend to conduct additional limited factual
   10    discovery related to Plaintiffs’ seating claims pursuant to the factors outlined in
   11    the California Supreme Court’s decision in Kilby v. CVS Pharmacy, Inc., 63 Cal.
   12    4th 1 (2016);
   13             WHEREAS, Defendant is noticing the deposition of Plaintiff Tamana
   14    Dalton and Plaintiff’s expert witness Gary Bakken;
   15             WHEREAS, the deadline for expert testimony disclosure has already
   16    passed pursuant to Rule 26(a)(2)(D) of the Federal Rules of Civil Procedure;
   17             WHEREAS, Plaintiffs have informed Defendant that they intend to
   18    simultaneously with this Stipulation file an expedited motion with the Court
   19    seeking an order clarifying the scope of trial set by the Court’s trial date and,
   20    while Defendant Chase submits that there is no need for clarification and that any
   21    request for interlocutory appeal should be denied, Chase has cooperated with
   22    counsel for Plaintiffs to agree as follows (with the Court’s permission): Chase
   23    will file its opposition to Plaintiffs’ request by January 3 and the parties agree
   24    that the Court may consider Plaintiffs’ request based on these two briefs without
   25    need for oral argument (unless the Court wishes oral argument on the Request);
   26             WHEREAS, the Parties agree that the Parties and the Court will benefit
   27    from a brief continuation of the trial dates so that the parties can complete
   28    discovery, briefing on Plaintiffs’ anticipated motion, and other necessary trial
                      STIPULATION AND [PROPOSED] ORDER TO BRIEFLY CONTINUE TRIAL DATES
                                                     1               Case No. 11-CV-03428 PSG (PLAx)
        DB2/ 32465402.1
Case 2:11-cv-03428-PSG-PLA Document 250 Filed 12/21/17 Page 3 of 4 Page ID #:4919



    1    preparations;
    2           THEREFORE, the Parties HEREBY STIPULATE and request that the Court
    3    continue the trial date until April 24, 2018, at 9:00 a.m., or as soon thereafter as
    4    may be convenient to the Court’s calendar. The Parties further request that the
    5    Court set the following pretrial schedule:
    6       •      January 15, 2018 – Deadline for Parties to update disclosures
    7       •      February 15, 2018 – Deadline for expert disclosures for all merits experts
    8       •      February 28, 2018 – Deadline for Parties to complete written discovery
    9              and non-expert depositions
   10       •      March 15, 2018 – Deadline for any rebuttal expert disclosures
   11       •      March 31, 2018 – Deadline for Parties to complete all expert depositions
   12       •      April 5, 2018 – Final Pretrial Conference
   13           The Parties are making this request in good faith and not for purposes of
   14    delay. Further, the Parties agree that no prejudice will result if the Court enters an
   15    Order on this Stipulation.
   16           IT IS SO STIPULATED.
   17    Dated: December 21, 2017                         Kevin J. McInerney, Esq.
   18                                                     /s/ Kevin J. McInerney
                                                          Kevin J. McInerney
   19                                                     Attorney for Plaintiffs Henderson and
                                                          Lampkins
   20
   21    Dated: December 21, 2017                         Capstone Law APC
   22                                                     /s/ Melissa Grant
                                                          Melissa Grant
   23                                                     Attorney for Plaintiff Salazar
   24
         Dated: December 21, 2017                         The Ozzello Practice PC
   25
                                                          /s/ Mark Ozzello
   26                                                     Mark Ozzello
                                                          Attorney for Plaintiff Dalton
   27
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                      STIPULATION AND [PROPOSED] ORDER TO BRIEFLY CONTINUE TRIAL DATES
        DB2/ 32465402.1                              2               Case No. 11-CV-03428 PSG (PLAx)
Case 2:11-cv-03428-PSG-PLA Document 250 Filed 12/21/17 Page 4 of 4 Page ID #:4920



    1    Dated: December 21, 2017                         Morgan, Lewis & Bockius LLP
    2                                                     /s/ Carrie A. Gonell
                                                          Carrie A. Gonell
    3                                                     Attorney for Defendants
    4
    5
    6                                       ATTESTATION
    7           I, Carrie Gonell, am the ECF user whose identification and password are
    8    being used to file this Stipulation and [Proposed] Order to Continue the Scheduling
    9    Conference. In compliance with Civil L.R. 5-4.3.4, I hereby attest that all other
   10    signatories, and on whose behalf the filing is submitted, concur in the filing’s
   11    content and have authorized the filing.
   12
         DATED: December 21, 2017                   MORGAN LEWIS & BOCKIUS LLP
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   14                                               By: /s/ Carrie A. Gonell
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                      STIPULATION AND [PROPOSED] ORDER TO BRIEFLY CONTINUE TRIAL DATES
        DB2/ 32465402.1                              3               Case No. 11-CV-03428 PSG (PLAx)
